Case 7:19-cr-00986 Document 1° Filed on 05/16/19 in TXSD Page 1 of 2

——

AO 91 (Rev. 11/11) Criminal Complaint §

 

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

 

 

 

United States of America )
v. ) . .
. A. _ | -
Hortencia Lerma (1977/US) Case No... M-14 - It A-™
)
) .
° )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of — May.15, 2019 . in the county of Brooks in the
Southern District of Texas , the defendant(s) violated: .
Code Section Offense Description
21 USC § 841 Possession with intent to Distribute a Controlled Substance / Approximately
8.82 Kilograms of Cocaine, a Schedule I! Controlled Substance.
21 USC § 846 oo Conspiracy to Possess with Intent to Distribute a Controlled Substance /
Approximately 8.82 Kilograms of Cocaine, a Schedule I! Controlled
Substance.

This criminal complaint is based on these facts:

See Attachment "A"

rh Continued on the attached sheet.

 

opment My A KSA Juwutes 2 Gite iim Sif. | Complainant’s signature

Jorge Rodriguez, HSI Task Force Officer

 

: Printed name and title

Sworn to before me and signed in my presence.

Date: _ 08/16/2019 ~ 5" 7Oa.a, CEE

Judge's signature

 

City and state: McAllen, Texas U.S. Magistrate Judge Juan Alanis
‘ Printed name and title
Case 7:19-cr-00986 Document1 Filed on 05/16/19 in TXSD Page 2 of 2

Attachment “A”

I, Jorge L. Rodriguez, am a Task Force Officer of the United States Homeland Security
Investigations (HSI) and have knowledge of the following facts. The facts related in this

attachment do not reflect the totality of information known to me or other agents/officers, merely

. the amount needed to establish probable cause. I do not rely upon facts not set forth herein in
reaching my conclusion that a complaint should be issued, nor do I request that this Court rely

1,

upon any facts not set forth herein in reviewing this attachment in support of the complaint.

On May 15, 2019, Homeland Security Investigations in McAllen, Texas, (HSI McAllen)
received a request for investigative assistance from the U.S. Customs and Border Protection
(CBP) Office of Border Patrol at the United States Border Patrol Checkpoint, in Falfurrias,
Texas. Border Patrol Agents (BPAs) detained Hortencia Lerma (hereafter LERMA), a citizen
of the United States, while attempting to smuggle approximately 8.28 kilograms of cocaine
concealed within the cab area of the tractor trailer she was driving. LERMA was the sole
occupant of the tractor trailer. .

During the immigration inspection, BPAs asked LERMA what she was hauling to which she
stated merchandise destined to Lowes and Home Depot in Florida. BPAs observed LERMA’s
hands were shaking when she handed over documents and LERMA exhibiting nervous
behavior. BPAs referred LERMA and the tractor trailer to secondary inspection for an
intensive examination due her excessive nervousness.

During secondary inspection, LERMA consented to a search of the tractor. A K9 drug
detection team conducted a free air inspection which resulted in a positive alert for the odor of.
controlled substance(s) emanating from the tractor.

A physical search of the tractor revealed a total of eight (8) packages concealed within a closet
behind the passenger’s seat of the tractor. BPAs weighed the eight (8) packages, which
weighed approximately 8.82 kilograms on a calibrated scale. BPAs field tested the substance
inside the packages, with a presumptive positive result for the properties and characteristics of

cocaine.

. HSI Task Force Officer and Special Agents responded to the Border Patrol Checkpoint to assist

in the investigation. HSI Task Force Officer and Special Agents attempted to interview
LERMA, who declined to answer any questions.
